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Yusi, Elizabeth (USAVAE)

From:               Yusi, Elizabeth (USAVAE)
Sent:               Friday, October 22, 2021 4:00 PM
To:                 Lindsay McCaslin; Andrew Grindrod
Cc:                 O'Boyle, Melissa (USAVAE); Bosse, Andrew (USAVAE)
Subject:            RE: Alcorn, et al.


I would assume so but we would need to know who and the reasons they can’t travel.

Beth Yusi
AUSA
757‐441‐3555

From: Lindsay McCaslin <Lindsay_McCaslin@fd.org>
Sent: Friday, October 22, 2021 3:59 PM
To: Yusi, Elizabeth (USAVAE) <EYusi@usa.doj.gov>; Andrew Grindrod <Andrew_Grindrod@fd.org>
Subject: [EXTERNAL] RE: Alcorn, et al.

Would you agree to doing three depositions of defense witnesses while in Sacramento?

Lindsay J. McCaslin
Assistant Federal Public Defender
150 Boush Street, Suite 403
Norfolk, VA 23510
(757)457‐0829

From: Yusi, Elizabeth (USAVAE) <Elizabeth.Yusi@usdoj.gov>
Sent: Friday, October 22, 2021 3:32 PM
To: Lindsay McCaslin <Lindsay_McCaslin@fd.org>; Andrew Grindrod <Andrew_Grindrod@fd.org>
Subject: FW: Alcorn, et al.

Can you let me know your position regarding these as soon as possible?

Thank you.

Beth Yusi
AUSA
757‐441‐3555

From: Yusi, Elizabeth (USAVAE)
Sent: Wednesday, October 20, 2021 10:41 AM
To: Greg Matthews <gkmatthews@msn.com>; Lindsay McCaslin (Lindsay_McCaslin@fd.org)
<Lindsay_McCaslin@fd.org>; Andrew Grindrod (Andrew_Grindrod@fd.org) <Andrew_Grindrod@fd.org>; Richard Yarow
<richardyarow@gmail.com>; Anthony Gantous <Anthony@anchorlg.com>
Subject: Alcorn, et al.

Counsel‐


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As you know, we are set to start the trial of the remaining defendants November 16, 2021. Several of our witnesses will
be unavailable to travel due to health matters. We would like to move the court for permission to take pretrial
depositions of these witnesses, pursuant to Fed. R. Crim. P. 15. While some of the witnesses may not be pertinent to
your defendant, the deposition itself may become relevant during the joint trial of codefendants.

Earlier in the Bank et al case, defendants Bank, Gibson, and Seabolt agreed to the deposition of Ruth Clark and Bob
Berrett. Because it was the government’s request to take the deposition, the court ordered the government pay for the
expenses of defense counsel and defendant to travel to the deposition. The parties agreed that one defense attorney
(Nick Renninger one time and James Broccoletti the other) would travel and attend in person, and the other attorneys
attended with their clients via VTC from our courthouse, with the remotely attending defendants signing a waiver of
their personal attendance at the deposition. If you all agree to the pretrial depositions and/or the court orders the
depositions, I’m sure we can agree to something similar if you are so inclined. Of course, if both you and your clients
want to attend the depositions, the government will pay. And, we will provide the pertinent exhibits for each witness
prior to any deposition.

While we may have additional witnesses to add to this list as we continue to prepare for trial, so far the witnesses we
want to depose and the respective location and reason for their deposition are as follows:

Bob Berrett (Salt Lake City, UT) – Berrett is the sole caretaker of his wife, Maryanne, who is unable to care for
herself. He is also high risk (due to his age and health) and will not travel due to Covid concerns.

Ruth Clark (Idaho Falls, ID) – Clark is approximately 85 years old and unable to travel due to her age and health.

Sharyon Bean (Sacramento, CA)‐ Bean has extreme anxiety, which led to a breakdown and early retirement due to her
disability. She cannot travel due to this extreme anxiety.

Vera Hullum (Sacrament, CA)‐ Hullum is 78 years old and physically unable to travel and she has to take care of her
husband due to his blindness and dementia.

We ask that you please advise us as to your position on our requests. And, if you are agreeable to them, please let us
know 1) if both you and your client wish to attend, and/or 2) if you plan to attend via VTC/Zoom and waive personal
attendance so we can start arrangements. Regardless, we will need to file a motion with the Court as soon as possible
to obtain permission to go forward. Thanks very much and please let me know if you have any questions.

Elizabeth "Beth" Yusi
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